                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                             DOCKET NO. 3:02-CR-00152


 UNITED STATES OF AMERICA                          )
                                                   )
         vs.                                       )
                                                   )
 BOBBY LAMONT HOWIE,                               )                    ORDER
                                                   )
                 Defendant.                        )
                                                   )

       THIS MATTER comes before the Court upon Defendant’s “Motion For Specific

Performance and Memorandum of Law in Support Thereof” (Doc. No. 276).

                                           I. Background

       As a basis for the instant motion, Defendant states that in June 2002, he entered a plea

agreement to two counts in a drug conspiracy, with the Government agreeing to dismiss five counts.

Defendant further states that he was induced to enter this plea agreement and waive his right to a jury

trial and other constitutionally protected rights based upon the prosecutor’s alleged oral promise to

file a 5K1.1 motion for downward departure at sentencing and a Rule 35(b) motions within one year

after sentencing in exchange for Defendant’s continued cooperation and substantial assistance. The

United States Attorney made a 5K1.1 motion for downward departure at sentencing based upon

Defendant’s substantial assistance to the Government. Defendant contends the Government

additionally made an oral promise to reduce his sentence even further through the filing of a motion

pursuant to Rule 35 of the Federal Rules of Criminal Procedure.

       In granting the Government’s motion pursuant to Section 5K1.1 of the Sentencing

Guidelines, Defendant ultimately was sentenced to a term of imprisonment of 210 months, which




       Case 3:02-cr-00152-MOC            Document 296        Filed 09/16/08       Page 1 of 3
was well below his initial guidelines range of 360 months to Life, and also below the statutory

minimum of twenty (20) years. The United States Attorney never made a Rule 35(b) motion

thereafter, and Defendant claims that this failure was a breach of the oral promises that induced him

to enter the plea agreement. Defendant now seeks specific enforcement of that agreement and a

reduction of his sentence.

                                             II. Analysis

       “[U]nless the government’s failure to file a substantial assistance motion is ‘based on an

unconstitutional motive’ . . . or is ‘not rationally related to any legitimate Government end,’ district

courts have no authority to review a prosecutor’s refusal to file a substantial assistance motion and

grant a remedy.” United States v. Butler, 272 F.3d 683, 686 (4th Cir. 2001) (quoting Wade v. United

States, 504 U.S. 181, 185-86 (1992)).

       Here, Defendant has not made any allegations, let alone the “substantial showing” required,

that would lead this Court to conclude that such an unconstitutional motive was at play. Wade, 504

U.S. at 186 (“additional but generalized allegations of improper motive” are insufficient). Moreover,

Defendant has not shown that the Government’s declination to file a Rule 35(b) motion is not

rationally related to a legitimate Government end. Indeed, Defendant admits he never testified in

any trial on behalf of the Government.

       Finally, Defendant received the benefit of the Government’s motion for downward departure

pursuant to 5K1.1 at his sentencing, which provided a significant reduction in his sentencing

guidelines range as a result of the substantial assistance he provided to the Government prior to his

sentence hearing. Defendant’s general statements that he cooperated with the Government and that

the Government verbally agreed to file a Rule 35 are insufficient to warrant relief under this record.


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       Case 3:02-cr-00152-MOC           Document 296        Filed 09/16/08      Page 2 of 3
IT IS, THEREFORE, ORDERED that Defendant’s motion (Doc. No. 276) is DENIED.

IT IS SO ORDERED.

                                  Signed: September 16, 2008




                                  -3-


Case 3:02-cr-00152-MOC     Document 296     Filed 09/16/08     Page 3 of 3
